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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KEVON PHILLIPS,

      Plaintiff,

v.                                            CASE NO.:

EQUIFAX INFORMATION                           JURY TRIAL DEMANDED
SERVICES LLC,

      Defendant.
                                      /

                                 COMPLAINT

      Plaintiff, KEVON PHILLIPS (hereinafter “Plaintiff”), by and through the

undersigned counsel, sues Defendant, EQUIFAX INFORMATION SERVICES

LLC (hereinafter “Equifax”), and in support thereof respectfully alleges violations

of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”).

                       PRELIMINARY STATEMENT

      1.     This is an action for actual damages, statutory damages, punitive

damages, costs and attorney’s fees brought pursuant to the Fair Credit Reporting

Act, 15 U.S.C. § 1681 et seq. (“FCRA”).

      2.     Today in America there are three major consumer reporting agencies,

Equifax Information Services, LLC (“Equifax”), TransUnion LLC (“TransUnion”)

and Experian Information Solutions, LLC (“Experian”).

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      3.    Consumer reporting agencies that create consumer reports, like

Equifax, are charged with using reasonable procedures designed to ensure the

maximum possible accuracy of the information they report. It is not enough for

them to simply parrot information they receive from entities, particularly where a

consumer makes a dispute about information reported.

      4.    When a consumer like Plaintiff disputes information through the

agencies, those disputes are transmitted to the party furnishing the information.

The FCRA demands that each party separately conduct a reasonable investigation

of the consumer’s dispute and correct or delete information they learn to be

inaccurate or cannot otherwise verify.

      5.    The Consumer Financial Protection Bureau has noted, “experience

indicates that [CRAs] lack incentives and under-invest in accuracy” Consumer Fin.

Prot. Bureau, Supervisory Highlights Consumer Reporting Special Edition 21

(Issue 14, March 2, 2017).

                                JURISDICTION

      6.    Jurisdiction and venue for purposes of this account are appropriate

and conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action

involved violations of the FCRA.

      7.    Subject matter jurisdiction, federal question jurisdiction, for purposes

of this action are appropriate and conferred by 28 U.S.C. § 1331, which provides

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that the district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States; and this action

involves violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.

      8.     The Plaintiff is a natural person and resident of Tuscaloosa County, in

the State of Alabama. He is a “consumer” as defined by 15 U.S.C. § 1681a(c).

      9.     Equifax is a corporation incorporated in the State of Georgia, with

their headquarters located at 1550 Peachtree Street, NW, Atlanta, Georgia 30309.

      10.    Equifax is a “consumer reporting agency,” as defined in 15 USC §

1681a(f). Equifax is regularly engaged in the business of assembling, evaluating,

and disbursing information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties

      11.    Equifax disburses such consumer reports to third parties under

contract for monetary compensation.

      12.    The current principal place of business of Defendant is in Atlanta,

Georgia; specifically, Fulton County. Accordingly, venue is appropriate with this

Court under 28 U.S.C. § 1391(b)(1) as it is the judicial district in which Defendant

resides.

                           FACTUAL ALLEGATIONS

      13.    Plaintiff is a natural person who is alleged to owe a debt.



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      14.    In or about March of 2020 Plaintiff obtained a copy of his Equifax

credit report (0567552761). Upon further review of his report, Plaintiff noticed

numerous accounts and inquiries that did not belong to him. Plaintiff believed

these accounts and inquiries were belonging to his twin brother, Kevonte’ L.

Phillips. Plaintiff’s brother’s name is found within his Equifax credit report.

      15.    On or about March 30, 2020 Plaintiff mailed a written dispute letter to

Equifax regarding the erroneous reporting of a Capital One Auto account, a

Bridgecrest Credit account, a collection account with Waypoint Resource Group

and numerous hard inquiries. In this dispute letter, Plaintiff also made Equifax

aware that they were reporting his brother’s name on his Equifax credit report.

Plaintiff’s name is Kevon DeJuan Phillips; his brother’s name is Kevonte’ L.

Phillips. Plaintiff included a copy of his driver’s license, his social security card

and a denial of credit by Capital One so that Equifax could properly identify

Plaintiff. Plaintiff mailed this dispute letter through certified mail no.: 7018 2290

0000 3709 7014.

      16.    Equifax responded on April 17, 2020 with letter #041703485-FLT.

First, Equifax responded to Plaintiff’s dispute by addressing the response to his

brother, Kevonte L. Phillips. Despite Plaintiff having provided his social security

card and driver’s license, Equifax demanded further forms of identification.

Equifax failed to address his disputes in violation of FCRA 1681i and indicated,

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“We were unable to locate a credit file”. Plaintiff had included in his dispute letter

Equifax’s Report Number 0567552761 which should have helped to easily identify

his file. Despite all the information Plaintiff provided, and clearly in an effort to

save time and to discourage future disputes, Equifax failed to read the complete

letter and demanded more information causing obstacles for Plaintiff to dispute

information on his credit file.

      17.    In or about April 2020, Plaintiff (through counsel) mailed another

written dispute letter to Equifax including a copy of his Alabama Driver’s license,

his Social Security Card, a denial from Credit One, and a 1040 IRS US Individual

Income Tax Return. Plaintiff disputed the reporting of a Capital One Auto account

(balance of $21,074; 92% usage of credit limit), a Bridgecrest credit account (high

balance of $7,233; paid as agreed), a collection account with Waypoint Resource

(Charter Bright House; for $451) and numerous hard inquiries. In this dispute

letter, Plaintiff explained again to Equifax that they were still reporting his

brother’s name in his Equifax report and that the above accounts were not

Plaintiff’s accounts.

      18.    Equifax failed to respond to Plaintiff’s second dispute letter, in

violation of 15 U.S.C § 1681i(a)(6)(A).            Plaintiff did not receive any

documentation about his detailed dispute letter.



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      19.    Due to the continuous erroneous reporting, in or about early June of

2020, Plaintiff mailed out a third written dispute letter. Plaintiff disputed all of the

same information as he has previously disputed twice with Equifax since they

refused to remove the incorrect information. In this dispute letter, Plaintiff also

provided a copy of his driver’s license and social security card. Plaintiff mailed

this dispute letter through certified mail no.: 7019 0160 0000 8641 3846.

      20.    Finally, on or about June 15, 2020, Equifax responded to Plaintiff’s

third dispute and stated that all disputed items were not currently reporting.

Equifax, after three detailed disputes, identified the mixed file mistakes they had

maintained. However, Equifax still addressed this dispute response to Plaintiff’s

twin brother, Kevonte L Phillips. Plaintiff has had to continuously communicate

and waste his time with Equifax when it was obvious from the onset that Equifax

had erroneous information in Plaintiff’s credit file.

      21.    To Plaintiff’s knowledge, as of the date of this Complaint, Equifax

still has Plaintiff’s credit file under his brother’s name, Kevonte L Phillips even

through three disputes Plaintiff has made advising Equifax of his full name, Kevon

DeJuan Phillips.

      22.    Equifax failed to properly investigate all the facts which the Plaintiff

explained in his numerous disputes and willfully chose to continue publishing false

representations on Plaintiff’s credit reports.

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       23.       Equifax has kept the erroneous accounts, inquiries and personal

information on Plaintiff’s credit report despite being notified by Plaintiff that

Plaintiff was not the debtor and a victim of a mixed file with his twin brother.

Equifax received all the information necessary to clarify an obvious mixed file in

Plaintiff’s first dispute letter.

       24.       Plaintiff has been recently abstaining from applying for credit because

the erroneous reporting is destroying his ability to get credit. Plaintiff remains

fearful that Equifax will again add all the negative accounts since it still has his

brother’s name with his credit report.

       25.       As a result of the inaccurate credit reporting, Plaintiff has suffered

damages, including, but not limited to:

               i.      Stress associated with poor credit;

              ii.      Monies lost by attempting to fix his credit. Plaintiff has mailed

             numerous letters attempting to resolve Defendant’s errors;

             iii.      Loss of time attempting to cure the error. Plaintiff has spent

             numerous hours on drafting dispute letters, and attempting to research

             ways of fixing his credit;

             iv.       Mental anguish, stress, aggravation, embarrassment and other

             related impairments to the enjoyment of life. Plaintiff has felt helpless

             with Defendant’s reluctance to correct his credit report;

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            v.        Denial of credit cards;

            vi.       Plaintiff is currently driving a 2003 Honda that he had to

            purchase at a buy here, pay here dealership because he was worried that

            a large dealership would run his credit and see the inaccuracies.

      26.     All conditions precedent to the filing of this action have occurred.

                                CAUSES OF ACTION

                                        COUNT I
                           (Violation of 15 U.S.C. § 1681e(b) –
                  as to Defendant, Equifax Information Services LLC)

      27.     The Plaintiff re-alleges and incorporates paragraphs one (1) through

twenty-six (26) as if fully set out herein.

      28.     Equifax violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains

concerning the Plaintiff. Equifax has had a mixed file for Plaintiff while possessing

sufficient evidence that two individuals were involved in its file. Equifax is aware

that twin siblings tend to have similar names, exact same last names and exact

dates of births. Usually their social security card numbers are one digit apart,

despite having this knowledge; Equifax fails to identify the mixed files of twins

and continues to include the other sibling’s name in its records. Plaintiff’s brother’s



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name remains in Plaintiff’s Equifax report and on several occasions Equifax has

delivered correspondence to Plaintiff in his brother’s name.

      29.    As a result of this conduct, action and inaction of Equifax, the

Plaintiff suffered damage by stress associated with poor credit, and mental and

emotional pain stemming from the anguish, humiliation, and embarrassment of

credit denials.

      30.    Equifax’s conduct, action, and inaction was willful, rendering it liable

for punitive damages in an amount to be determined by the Court pursuant to 15

USC § 1681n. In the alternative, it was negligent, entitling the Plaintiff to recover

under 15 USC § 1681o. Equifax failed to properly conduct any independent

investigation regarding the erroneous reporting.

      31.    The Plaintiff is entitled to recover costs and attorney’s fees from

Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n

and/or § 1681o.

      WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against Defendant, EQUIFAX INFORMATION

SERVICES LLC, for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any

other such relief the Court may deem just and proper.



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                                   COUNT II
                         (Violation of 15 U.S.C. § 1681i –
              as to Defendant, Equifax Information Services LLC)

      32.    Plaintiff re-alleges and incorporates paragraphs one (1) through

twenty-six (26) above as if fully set out herein.

      33.    Equifax violated 15 U.S.C. § 1681i by failing to delete inaccurate

information in the Plaintiff’s credit file after receiving notice of such inaccuracies,

by failing to conduct a lawful reinvestigation and by failing to maintain reasonable

procedures with which to filter and verify disputed information in the Plaintiff’s

credit file. Plaintiff disputed two times and provided sufficient evidence to Equifax

to correct its mistakes but Equifax failed to do so until the third dispute by

Plaintiff. Equifax knew there were two different names associated with Plaintiff’s

file but failed to take any independent action to resolve the issue. Equifax blatantly

ignored some of Plaintiff’s disputes.

      34.    As a result of this conduct, action and inaction of Equifax, the

Plaintiff suffered damage by loss of credit; loss of the ability to purchase and

benefit from credit; and mental and emotional pain stemming from the anguish,

humiliation, and embarrassment of credit denials. Plaintiff has been denied and is

now purposely refraining from applying for more credit because of the erroneous

reporting by Equifax. Equifax was made aware of the erroneous reporting from the



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Plaintiff’s two disputes and refused to remove the inaccurate accounts and

inquiries until after Plaintiff’s third dispute.

       35.    Equifax violated 15 U.S.C § 1681i(a)(6)(A) by failing to provide

written notice to a consumer of the results of a reinvestigation no later than 5

business days after the completion of the reinvestigation, by mail or, if authorized

by the consumer for that purpose, by other means available to the agency.

       36.    Equifax’s conduct, action, and inaction was willful, rendering it liable

for actual or statutory damages, and punitive damages in an amount to be

determined by the Court pursuant to 15 USC § 1681n. In the alternative, it was

negligent entitling the Plaintiff to recover under 15 USC § 1681o.

       37.    The Plaintiff is entitled to recover costs and attorney’s fees from

Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n

and/or § 1681o.




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      WHEREFORE, Plaintiff demands judgment and compensatory and

punitive damages against Defendant, EQUIFAX INFORMATION SERVICES

LLC, jointly and severally; for his attorneys fees and costs; for pre-judgment and

post-judgment interest at the legal rate, and such other relief the Court does deem

just, equitable, and proper.



                                       Respectfully submitted,

                                        /s/ Octavio Gomez
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